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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 UNITED STATES ex rel. GERALDINE                       )
 PETROWSKI,                                            )
                                                       )
            Plaintiff,                                 ) Case No. 8:15-cv-01408-JSM-JSS
                                                       )
 v.                                                    )
                                                       )
 EPIC SYSTEMS CORPORATION,                             )
                                                       )
            Defendant.                                 )
                                                       )
                                                       )


                    NOTICE OF FILING SUPPLEMENTAL AUTHORITY

       Epic Systems Corporation ("Epic") hereby files this its Notice of Filing Supplemental

Authority. Epic would draw this Court's attention to the United States Court of Appeals for the

Eleventh Circuit decision on January 24, 2018, in United States ex rel. Chase v. LifePath

Hospice, Inc., case no. 16-16670, at 9 (11th Cir. Jan. 24, 2018). A copy of the Eleventh Circuit's

opinion is attached as Exhibit "A." Epic had previously relied on this Court's order of dismissal

in that case, which has now been affirmed in the attached opinion. Motion to Dismiss (Dkt. 46),

at 12-15.
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Respectfully submitted this 26th day of   s/ John M. Guard
January 2018.                             John M. Guard
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                                 CERTIFICATE OF SERVICE


  I HEREBY CERTIFY that on this 26th day of January, 2018, I electronically filed the

foregoing’’ with the Clerk of Court by using the CM/ECF system which will send a Notice of

Electronic Filing to all counsel of record, including:

        Christopher Emden, Assistant United States Attorney

          David Linesch, Attorney for the Relator




                                                     s/ John M. Guard



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